     Case: 1:18-cv-08144 Document #: 71 Filed: 09/03/19 Page 1 of 1 PageID #:496

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

John Velez
                                 Plaintiff,
v.                                                   Case No.: 1:18−cv−08144
                                                     Honorable Edmond E. Chang
City of Chicago, et al.
                                 Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 3, 2019:


       MINUTE entry before the Honorable Edmond E. Chang: The parties have an
interim agreement in place on the protective−order dispute, R. 67. The status hearing of
09/04/2019 is reset to 10/23/2019 at 9 a.m., to check on discovery and the Court will
endeavor to decide the dispute before then.Emailed notice(slb, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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